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 4
                                   UNITED STATES DISTRICT COURT
 5
                                   FOR THE DISTRICT OF COLUMBIA
 6
 7   UNITED STATES OF AMERICA,                     ) Criminal No. 21-CR-687 (FYP)
                                                   )
 8                    Plaintiff,                   )
                                                   )
 9               v.                                ) NOTICE OF WITHDRAWAL OF
                                                   ) COUNSEL
10   DAVID CHARLES RHINE,                          )
                                                   )
11                    Defendant.                   )
                                                   )
12           NOTICE IS HEREBY GIVEN that Assistant Federal Public Defender Joanna
13   Martin withdraws as counsel for Mr. Rhine. Undersigned counsel confirms that Mr.
14   Rhine remains represented by the Federal Public Defender for the Western District of
15   Washington and Assistant Federal Public Defender Rebecca Fish and requests that
16   notice of all filings be served only upon the remaining attorney.
17           DATED this 29th day of January, 2024.
18                                               Respectfully submitted,
19
                                                 s/ Rebecca Fish (current)
20                                               Assistant Federal Public Defender
21                                               Attorney for David Charles Rhine

22                                               s/ Joanna Martin (withdrawing)
                                                 Assistant Federal Public Defender
23
24
25
26

                                                                 FEDERAL PUBLIC DEFENDER
       NOTICE OF WITHDRAWAL                                           1331 Broadway, Suite 400
       (United States v. Rhine, 21-CR-687) - 1                              Tacoma, WA 98402
                                                                                (253) 593-6710
